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                                 FOR PUBLICATION

                   UNITED STATES COURT OF APPEALS
                        FOR THE NINTH CIRCUIT


                 ELLIOT MCGUCKEN, an individual,          No. 21-55854
                               Plaintiff-Appellant,
                                                            D.C. No.
                                  v.                     2:20-cv-01923-
                                                            RGK-AS
                 PUB OCEAN LIMITED, DBA
                 AbsoluteHistory.com, DBA
                 MagellanTimes.com, DBA                     OPINION
                 MaternityWeek.com, DBA
                 NewRavel.com, DBA Scribol
                 Publishing, DBA Scribol.com,
                                Defendant-Appellee,

                                 and

                 DOES, 1–10, inclusive,
                                          Defendant.

                       Appeal from the United States District Court
                          for the Central District of California
                       R. Gary Klausner, District Judge, Presiding

                           Argued and Submitted May 13, 2022
                                  Pasadena, California

                                  Filed August 3, 2022
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                    Before: Sandra S. Ikuta, Jacqueline H. Nguyen, and
                             John B. Owens, Circuit Judges.

                                   Opinion by Judge Nguyen


                                          SUMMARY *


                                            Copyright

                    The panel reversed the district court’s summary
                judgment in favor of the defendant, based on a fair use
                defense in an action under the Copyright Act, and remanded
                for further proceedings.

                    Elliott McGucken alleged copyright infringement in the
                posting by Pub Ocean Ltd. of an article about an ephemeral
                lake that formed on the desert floor in Death Valley, using
                twelve of McGucken’s photos of the lake without seeking or
                receiving a license.

                    The panel held that Pub Ocean could not invoke a fair
                use defense to McGucken’s copyright infringement claim.
                Under 17 U.S.C. § 107, in determining whether fair use
                applies, a court must analyze the purpose and character of
                the use, the nature of the copyrighted work, the amount and
                substantiality of the portion used in relation to the
                copyrighted work as a whole, and the effect of the use upon
                the potential market for or value of the copyrighted work.
                The court must analyze and weigh these non-exhaustive

                    *
                      This summary constitutes no part of the opinion of the court. It
                has been prepared by court staff for the convenience of the reader.
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                factors in light of the purposes of copyright. The panel held
                that the four statutory factors help illuminate what kind of
                creativity merits protection from the ordinary strictures of
                copyright law. In defining and identifying that creativity, a
                court considers whether the copying use is transformative,
                meaning that it adds something new and important.

                    The panel determined that the first statutory factor
                weighed against fair use. The panel concluded that Pub
                Ocean’s work made a commercial use of McGucken’s
                photos, and this use was not transformative because the
                article used the photos for exactly the purpose for which they
                were taken: to depict the lake. Further, Pub Ocean did not
                meaningfully transform the photos by embedding them
                within the text of the article, but rather used them as a clear,
                visual recording of the article’s subject matter.

                    The panel determined that the second statutory factor,
                the nature of the copyrighted work, weighed against fair use
                because the photos were the creative product of many
                technical and artistic decisions.

                    The third factor, the amount and substantiality of the
                portion used, weighed against fair use because Pub Ocean
                used McGucken’s photos with only negligible cropping, and
                it copied extensively without justification.

                    The fourth factor, market effect, weighed against fair use
                because, if carried out in a widespread and unrestricted
                fashion, Pub Ocean’s conduct would destroy McGucken’s
                licensing market.

                   Because all four statutory factors pointed
                unambiguously in the same direction, the panel held that the
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                district court erred in failing to grant partial summary
                judgment in favor of McGuckin on the fair use issue.


                                       COUNSEL

                Scott Alan Burroughs (argued), Trevor W. Barrett, and
                Frank R. Trechsel, Doniger / Burroughs, Venice, California,
                for Plaintiff-Appellant.

                Shane W. Tseng (argued) and Albert T. Liou, Prospera Law
                LLP, Los Angeles, California, for Defendant-Appellee.
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                                        OPINION

                NGUYEN, Circuit Judge:

                     As the saying goes, a picture is worth a thousand words.
                One powerful image can drive interest in a story that would
                otherwise go unnoticed. Copyright protection allows an
                artist to reap the rewards of her creative endeavors, but it
                cannot stifle all downstream expression that a work might
                inspire. As Justice Story explained, because “there are, and
                can be, few, if any, things, which in an abstract sense, are
                strictly new and original throughout,” the fair use doctrine
                allows other creators to “borrow, and use much which was
                well known and used before.” Campbell v. Acuff-Rose
                Music, Inc., 510 U.S. 569, 575 (1994) (quoting Emerson v.
                Davies, 8 F. Cas. 615, 619 (C.C.D. Mass. 1845)). The fair
                use doctrine does not, however, allow infringers “to avoid
                the drudgery in working up something fresh” by exploiting
                the value of an image they did not create. Id. at 580.

                    Photographer Elliot McGucken captured a series of
                photographs of an otherworldly sight—an ephemeral lake
                that had formed on the desert floor in Death Valley after
                heavy rains in March 2019. McGucken licensed his photos
                to several websites which ran articles about the lake. Pub
                Ocean Ltd., a digital publisher, also posted an article about
                the lake using twelve of McGucken’s photos, but it neither
                sought nor received a license.

                    We hold that Pub Ocean cannot invoke a fair use defense
                to McGucken’s copyright infringement claim. Pub Ocean’s
                use was in no way transformative—the article used
                McGucken’s photos to depict the ephemeral lake, which was
                exactly the purpose for which they were taken and exactly
                the function for which the photos had been licensed to other
                websites. Because all of the fair use factors favor
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                McGucken, we reverse the district court’s summary
                judgment in favor of Pub Ocean and remand for further
                proceedings.

                     I. Factual Background and Procedural History

                A. McGucken’s Photos

                     In early March 2019, Death Valley received about one-
                third of its annual precipitation over the course of a single
                day. The storm left a shallow lake on the desert floor
                stretching ten miles. When the skies cleared and the winds
                calmed, the lake was perfectly still, and its surface reflected
                back the surrounding mountains and sky. Without a
                photographer to, in McGucken’s words, “render rare,
                fleeting beauty eternal,” this scene may well have been lost
                to time.

                     At his own expense, McGucken had traveled to the area
                with his camera, ready to capture a scene just like this. He
                first saw what appeared as a “small and close” pool of water
                from the road, but he knew that distances in Death Valley
                can be deceptive. After a few hours of hiking, the true scale
                of the lake came into view, and it was “breathtaking.”
                Shortly after he reached the water’s edge, the wind briefly
                died down and “the water turned to glass.”

                    During those “lucky, magically strange, and even eerie
                minutes,” McGucken got to work. He employed “a classical
                technique in art,” “composing . . . using the golden ratio,” a
                subject about which he had “penned a couple books.” He
                took and then edited a series of photographs from different
                vantage points. With a little luck, a little sweat, and plenty
                of skill, McGucken produced a series of photos of stunning
                beauty.
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                    McGucken posted the photos to Instagram, where they
                were shared widely. In the following weeks, McGucken was
                contacted by several websites hoping to publish his photos
                in articles about the lake. With his permission, McGucken’s
                photos appeared in SF Gate, the Daily Mail, the National
                Parks Conservation Association, PetaPixel, Smithsonian
                Magazine, AccuWeather, Atlas Obscura, and Live Science.

                B. Pub Ocean’s Infringing Article

                    Pub Ocean is a U.K.-based digital publisher. It operates
                a network of websites catering to interests in travel, history,
                parenting, pop culture, and current events. On April 15,
                2019, Pub Ocean published an article on its websites that
                used twelve of McGucken’s photos. Pub Ocean neither
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                sought nor received McGucken’s permission. Through
                advertising, the article earned Pub Ocean $6,815.66 in the
                span of a year.

                    Pub Ocean’s article was titled, “A Massive Lake Has Just
                Materialized In The Middle Of One Of The Driest Places On
                Earth.” As this title indicates, the focus of the article was the
                ephemeral lake. The article begins and ends with a
                discussion of the lake. And much of the article describes
                how the ephemeral lake formed and how McGucken came
                to photograph the phenomenon. McGucken’s photos are
                used in those portions of the article that specifically discuss
                the lake.

                    The article also contains a handful of digressions on
                loosely related topics. For example, apropos of the lake’s
                setting, the article riffs on the topic of deserts, informing
                readers that “deserts make up around a third of the landmass
                on planet earth” and that “the driest place on Earth is the
                Atacama Desert in South America.” The article also spends
                a few paragraphs on facts about Death Valley.

                    Some of the digressions take readers further afield. The
                article discusses other ephemeral lakes around the world,
                such as those that appear in Australia and Argentina. And it
                analogizes ephemeral lakes to other ephemeral phenomena
                in nature, such as desert superblooms, and a “vanishing
                island” in the South Pacific.

                    Like the article’s discussion of the ephemeral lake, these
                other topics are also illustrated. The article includes twenty-
                eight photos from sources other than McGucken that loosely
                track the text. For example, when the article discusses
                deserts, photos of unspecified deserts appear. Fields of
                wildflowers appear above a discussion of superblooms. And
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                photos of small islands appear when vanishing islands are
                discussed.

                    The photos appear prominently in the article’s visual
                layout. In size, the photos dwarf the text. In a web browser,
                the article appears not primarily as a piece of writing.
                Rather, it appears as a series of photos with the text broken
                up into tiny captions underneath. A few examples appear
                below.




                C. This Lawsuit

                    McGucken filed this copyright infringement suit against
                Pub Ocean in the Central District of California. McGucken
                filed a motion for summary adjudication focused on Pub
                Ocean’s fair use defense. The district court sua sponte
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                granted summary judgment for Pub Ocean, concluding that
                it was entitled to a fair use defense as a matter of law. 1

                          II. Jurisdiction and Standard of Review

                    We have jurisdiction under 28 U.S.C. § 1291. We
                review de novo a district court’s summary judgment on a fair
                use defense. See Seltzer v. Green Day, Inc., 725 F.3d 1170,
                1175 (9th Cir. 2013).

                                            III. Analysis

                A. Fair Use Principles

                    “[T]he ‘fair use’ doctrine . . . [is] an ‘equitable rule of
                reason’ that ‘permits courts to avoid rigid application of the
                copyright statute when, on occasion, it would stifle the very
                creativity which that law is designed to foster.’” Google
                LLC v. Oracle Am., Inc., 141 S. Ct. 1183, 1196 (2021)
                (citation omitted). The fair use doctrine is a “guarantee of
                breathing space within the confines of copyright,” Campbell,
                510 U.S. at 579, and a “backstop” that “counterbalance[s]
                the exclusive rights of a copyright,” Dr. Seuss Enters., L.P.
                v. ComicMix LLC, 983 F.3d 443, 450 (9th Cir. 2020), cert.
                denied, 141 S. Ct. 2803 (2021). “[T]he fair use of a
                copyrighted work . . . is not an infringement of copyright.”
                17 U.S.C. § 107.



                     1
                       McGucken also filed suit against Newsweek in the Southern
                District of New York concerning its use of embedded links to
                McGucken’s Instagram posts. See McGucken v. Newsweek LLC, 464 F.
                Supp. 3d 594 (S.D.N.Y. 2020). The district court denied Newsweek’s
                motion to dismiss on the basis of fair use. Id. at 604–09. That case has
                settled. See No. 1:19-cv-09617 (S.D.N.Y.), Dkt. 85 (Apr. 13, 2022).
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                   As codified in the Copyright Act of 1976, courts must
                analyze the following non-exhaustive factors in determining
                whether fair use applies:

                       (1) the purpose and character of the use,
                       including whether such use is of a
                       commercial nature or is for nonprofit
                       educational purposes;

                       (2) the nature of the copyrighted work;

                       (3) the amount and substantiality of the
                       portion used in relation to the copyrighted
                       work as a whole; and

                       (4) the effect of the use upon the potential
                       market for or value of the copyrighted work.

                17 U.S.C. § 107.

                     These factors are analyzed and weighed “in light of the
                purposes of copyright.” Dr. Seuss, 983 F.3d at 451 (quoting
                Campbell, 510 U.S. at 578). That analysis is “flexible” and
                “may well vary depending upon context.” Google, 141 S.
                Ct. at 1197. The four statutory factors simply help illuminate
                what kind of creativity merits protection from the ordinary
                strictures of copyright law.

                    For decades, courts have used the concept of
                “transformation” to define and identify that creativity in fair
                use cases. See Campbell, 510 U.S. at 578–79. Although
                judicially created, this concept “permeates” fair use analysis.
                Dr. Seuss, 983 F.3d at 452. “[D]etermining whether and to
                what extent the new work is transformative” is the “central
                purpose of the first-factor inquiry,” and it “influences the
                lens through which we consider” the third and fourth factors.
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                Id. at 451–52 (citations and internal quotation marks
                omitted).

                    Simply put, “the word ‘transformative’ . . . describe[s] a
                copying use that adds something new and important.”
                Google, 141 S. Ct. at 1203. The “benchmarks” of
                transformative use are “(1) further purpose or different
                character in the defendant’s work, i.e., the creation of new
                information, new aesthetic, new insights and understanding;
                (2) new expression, meaning, or message in the original
                work, i.e., the addition of value to the original; and (3) the
                use of quoted matter as raw material, instead of repackaging
                it and merely superseding the objects of the original
                creation.” Dr. Seuss, 983 F.3d at 453 (citations and internal
                quotation marks omitted).

                    Fair use is a mixed question of law and fact. See Google,
                141 S. Ct. at 1199. Each of the statutory factors
                encompasses legal and factual questions. For instance, “how
                much of the copyrighted work was copied” is a factual
                question, id. at 1200, but which way in the fair use analysis
                that points in a particular case, and by how much, is a legal
                question.

                   Although factual questions can arise, the parties in fair
                use cases often dispute only the legal significance to be
                drawn from facts. Fair use is thus often resolved at summary
                judgment, and “we may reweigh on appeal the inferences to
                be drawn from [the] record.” Mattel, Inc. v. Walking
                Mountain Prods., 353 F.3d 792, 800 (9th Cir. 2003) (citation
                omitted); see, e.g., Dr. Seuss, 983 F.3d at 461. “Where no
                material, historical facts are at issue and the parties dispute
                only the ultimate conclusions to be drawn from those facts,
                we may draw those conclusions without usurping the
                function of the jury.” Seltzer, 725 F.3d at 1175.
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                B. First Factor – Purpose and Character of the Use

                    The first fair use factor examines “the purpose and
                character of the use.” 17 U.S.C. § 107(1). Under this factor,
                we consider whether the infringing work is transformative
                and whether it is commercial. See Dr. Seuss, 983 F.3d at
                451–52. For-profit news articles are generally considered
                commercial uses, see, e.g., Monge v. Maya Mags., 688 F.3d
                1164, 1176 (9th Cir. 2012), and Pub Ocean does not dispute
                that its article was commercial. The focus of the first factor,
                however, is on transformation because “the more
                transformative the new work, the less will be the significance
                of other factors, like commercialism.” Campbell, 510 U.S.
                at 579.

                    Under our case law, a work that conveys factual
                information does not transform a copyrighted work by using
                it as a “clear, visual recording” of the infringing work’s
                subject. Monge, 688 F.3d at 1174 (quoting L.A. News Serv.
                v. KCAL-TV Channel 9, 108 F.3d 1119, 1122 (9th Cir.
                1997)). When a copyrighted work is used simply to illustrate
                what that work already depicts, the infringer adds no “further
                purpose or different character.” Campbell, 510 U.S. at 579.
                In that case, copyright law justly treats the infringer as
                freeriding on the inherent value of the original work. See
                Elvis Presley Enters. v. Passport Video, 349 F.3d 622, 629
                (9th Cir. 2003) (using video clips of musical performances
                for their “intrinsic entertainment value” was not
                transformative), overruled on other grounds as stated in
                Flexible LifeLine Sys., Inc. v. Precision Lift, Inc., 654 F.3d
                989, 995 (9th Cir. 2011) (per curiam).

                    There is no genuine dispute that Pub Ocean’s article used
                McGucken’s photos as a “clear, visual recording” of the
                lake. Monge, 688 F.3d at 1174 (quoting KCAL-TV, 108 F.3d
                at 1122). McGucken’s photos present a realistic depiction
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                of the ephemeral lake. And the lake, which the article’s title
                hails as the “Massive Lake” that “Materialized” in Death
                Valley, was undoubtedly the article’s subject. The article
                begins and ends by discussing the lake, and each of the topics
                it touches on—from Death Valley to superblooms—bears
                some relationship to it. The article does not present
                McGucken’s photos in a new or different light. It uses them
                for exactly the purpose for which they were taken: to depict
                the lake.

                    The article likewise does not meaningfully transform the
                photos by embedding them within the text of the article. We
                have repeatedly held that “[a]dding informative captions
                does not necessarily transform copyrighted works.” Sicre de
                Fontbrune v. Wofsy, _ F. 4th _, 2022 WL 2711466, at *9 (9th
                Cir. 2022). 2 And Pub Ocean’s article does even less. Photos
                are inserted every three to four sentences in an article
                structured as a continuous narrative. There is at most a loose
                topical connection between each portion of the article and
                the photos that appear alongside it. Photos of the ephemeral
                lake appear in roughly the place in the article where it is
                explicitly discussed. The article does not contain captions
                that directly describe or engage with the photos. Rather, it
                essentially uses the photos as visual “filler.” Elvis Presley
                Enters., 349 F.3d at 625. Exploiting the beauty and intrigue
                of McGucken’s photos in this way without adding anything
                new is not transformative. See id. at 629.



                     2
                       See also Monge, 688 F.3d at 1176 (describing “wholesale copying
                sprinkled with written commentary” as “at best minimally
                transformative”); Elvis Presley Enters., 349 F.3d at 628 (“[V]oice-overs
                do not necessarily transform a work.”); KCAL-TV, 108 F.3d at 1122
                (“Although KCAL apparently ran its own voice-over, it does not appear
                to have added anything new or transformative.”).
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                    Our prior cases reinforce this conclusion. In Monge, we
                held that a gossip magazine did not transform a celebrity’s
                private photos of her secret wedding when it used the photos
                in an exposé about the wedding. 688 F.3d at 1175–76.
                Similarly, in KCAL-TV, we held that a network did not
                transform helicopter footage of the violence at Florence and
                Normandie during the 1992 Los Angeles riots simply by
                using that footage as part of the network’s coverage of the
                riots. 108 F.3d at 1122. Just as in Monge and KCAL-TV,
                Pub Ocean’s article uses McGucken’s photos as a “clear,
                visual recording” of its subject matter, and it is therefore no
                more transformative. Id.

                     To be transformative, the infringing use must bring about
                a much starker change in expression. For example, using a
                thumbnail image of a photo in a search engine “transforms
                the image into a pointer directing a user to a source of
                information.” Perfect 10, Inc. v. Amazon.com, Inc., 508 F.3d
                1146, 1165 (9th Cir. 2007). And a musical about a rock band
                transforms a video clip of the band’s performance by using
                it “to mark an important moment in the band’s career” rather
                than “for its own entertainment value.” SOFA Entm’t, Inc.
                v. Dodger Prods., 709 F.3d 1273, 1278 (9th Cir. 2013).
                When used in Pub Ocean’s article, McGucken’s photos
                undergo no remotely comparable transformation.

                    Pub Ocean analogizes this case to Los Angeles News
                Service v. CBS Broadcasting, Inc., 305 F.3d 924 (9th Cir.
                2002), but the analogy is strained and unpersuasive. CBS
                involved the same helicopter footage of the violence at
                Florence and Normandie at issue in KCAL-TV. 305 F.3d
                at 929. We held in CBS that a television network did
                transform that footage by using it as part of a show’s
                recurring introductory montage. Id. at 939. The introduction
                featured “a stylized orange clock design superimposed over
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                a grainy, tinted, monochromatic video background.” Id.
                at 929. As the hands of the clock turned, the background
                video changed. Id. at 930. One of the video backgrounds
                was a few seconds taken from the plaintiff’s helicopter
                footage. Id. at 929–30. As “the program’s regular
                introduction, it was used to promote the program even when
                the program did not cover” the riots or related events. Id.
                at 939–40. We regarded that use as transformative because,
                “beyond mere republication,” using the clip in the recurring
                introduction      “serve[d]     some     purpose     beyond
                newsworthiness.” Id. at 939. By contrast, McGucken’s
                photos were used “as part of [Pub Ocean’s] coverage” of the
                lake. KCAL-TV, 108 F.3d at 1122.

                    Contrary to Pub Ocean’s argument, CBS does not show
                that the mere arrangement of McGucken’s photos into a
                “montage” rendered Pub Ocean’s use transformative. While
                CBS recognized that, as we put it in Monge, the
                “[a]rrangement of a work in a photo montage . . . , can be
                transformative,” 688 F.3d at 1174 (emphasis added), we
                have never held that merely arranging other works into a
                compilation is automatically transformative. The critical
                fact in CBS was not that the plaintiff’s footage was placed in
                a collection of other video clips but that the footage served a
                different function when used as part of an introductory
                montage. And we concluded in Monge that, despite the
                article’s arrangement of the plaintiff’s wedding photos, there
                was “no real transformation of the photos themselves.” Id.
                at 1175. We must evaluate each arrangement for itself to
                determine whether it gives new purpose or different
                character to the material it takes.

                    Pub Ocean’s primary argument is that its article is
                transformative because it places McGucken’s photos in the
                “wider context” supplied by the article’s factual
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                presentation.   On Pub Ocean’s view, the article is
                transformative because its various tangents “provided
                context,” with information about related topics that was
                “much more expansive” than the photographs themselves.
                That argument has little support in fair use doctrine.

                      Practically speaking, it is hard to imagine what would
                not be a fair use, or what could not be readily turned into a
                fair use, under Pub Ocean’s theory. Any copyrighted work,
                when placed in a compilation that expands its context, would
                be a fair use. Any song would become a fair use when part
                of a playlist. Any book a fair use if published in a collection
                of an author’s complete works. It would make little sense to
                treat this kind of “recontextualizing” or “repackaging” of
                one work into another as transformative. Dr. Seuss, 983 F.3d
                at 453–54. That is not the kind of creativity that “further[s]
                . . . the goal of copyright, to promote science and the arts.”
                Campbell, 510 U.S. at 579. Transformation requires more
                than “the facile use of scissors.” Elvis Presley Enters.,
                349 F.3d at 628 (quoting Folsom v. Marsh, 9 F. Cas. 342,
                345 (C.C.D. Mass. 1841)).

                    If Pub Ocean’s theory were correct, our cases involving
                factual works would have turned out differently. For
                example, Elvis Presley Enterprises involved an
                “exhaustive,” 16-hour documentary covering “virtually all
                aspects of Elvis’ life.” 349 F.3d at 625. The documentary
                used clips from a series of videos of Elvis performances. Id.
                Each clip became part of the “wider context” of Elvis’s
                career that the entire documentary set forth. But even though
                the documentary presented countless details about Elvis
                beyond what the clips conveyed, we still concluded that
                many clips were not used in a transformative way. Id. at 629.
                Crucially, that determination was not based on a blanket
                conclusion about the documentary as a whole, as Pub Ocean
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                would have it. Rather, we made a fine-grained analysis of
                each use and concluded that some of the clips “serve[d] the
                same intrinsic entertainment value that is protected by
                Plaintiffs’ copyrights,” and were thus not transformative. Id.
                That the clips were presented alongside 16 hours of further
                facts about Elvis played no role in our analysis.

                    As in Elvis Presley, the topics in Pub Ocean’s article
                beyond the ephemeral lake have little bearing on
                transformation. The article’s tangents about topics like
                Death Valley and superblooms come before and after
                McGucken’s photos, and they are illustrated by photos of
                their own from third-party sources. That these other topics
                are discussed in other portions of the article does not alter
                our conclusion that McGucken’s photos are used simply to
                illustrate the ephemeral lake and therefore lack any
                transformative character.

                     Pub Ocean also argues that its fair use defense is
                strengthened by its purpose of reporting the news. “[N]ews
                reporting” is an example of fair use listed in the preamble to
                17 U.S.C. § 107. 3 “[T]he analysis of the first fair use factor
                ‘may be guided by the examples given in the preamble to
                § 107.’” Dr. Seuss, 983 F.3d at 452 (quoting Campbell,
                510 U.S. at 578–79). But “[w]hether a use referred to in the
                first sentence of section 107 is a fair use in a particular case
                will depend upon the application of the determinative
                factors.” Harper & Row Publishers, Inc. v. Nation Enters.,
                471 U.S. 539, 561 (1985) (citation omitted). We have
                recognized that “where the content of the [copyrighted] work
                is the story . . . , news reporters would have a better claim

                    3
                      The preamble gives the following examples of fair use: “criticism,
                comment, news reporting, teaching (including multiple copies for
                classroom use), scholarship, or research.” 17 U.S.C. § 107.
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                of transformation.” Monge, 688 F.3d at 1175 n.8; see also
                KCAL-TV, 108 F.3d at 1121 (“To the extent that KCAL ran
                the tape as a news story, this would weigh in its favor.”). But
                the mere category of “news reporting,” which is all that Pub
                Ocean points to 4, is “not sufficient itself to sustain a per se
                finding of fair use.” Monge, 688 F.3d at 1173. Therefore,
                although we do not withhold the label of “news reporting”
                from Pub Ocean’s article, see Harper & Row, 471 U.S. at
                561 (“[C]ourts should be chary of deciding what is and what
                is not news.” (citation omitted)), that label alone does not get
                Pub Ocean very far.

                    For the reasons explained above, Pub Ocean’s article did
                not make transformative use of McGucken’s photos.
                Moreover, the article was commercial, which “further cuts
                against the fair use defense.” Dr. Seuss, 983 F.3d at 451–52
                (citation and internal quotation marks omitted).
                Accordingly, the first factor weighs against fair use. 5

                     4
                       Some of Pub Ocean’s article was about McGucken’s discovery of
                the lake and his photography. But Pub Ocean did not argue in its brief
                that these portions of the article treated McGucken’s photos themselves
                as the news story. Given that the article only briefly referenced
                McGucken’s photos themselves and it was otherwise focused on the
                ephemeral lake, we are skeptical that this theory would help Pub Ocean
                establish fair use. However, because Pub Ocean failed to raise the issue,
                we need not reach it. See Clem v. Lomeli, 566 F.3d 1177, 1182 (9th Cir.
                2009) (holding that an appellee waived an issue by failing to address it
                in his answering brief).

                     5
                      We said in Monge that “wholesale copying sprinkled with written
                commentary . . . was at best minimally transformative” and we
                concluded that the first factor was “at best neutral.” 688 F.3d at 1176–
                77. Here, even if Pub Ocean’s minor cropping and arrangement of
                photos in the text of the article constitutes marginal transformation, id.
                at 1174–75, we would still conclude that the showing of transformation
                is so weak that the first factor weighs against fair use.
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                C. Second Factor – Nature of the Copyrighted Work

                    The second fair use factor concerns “the nature of the
                copyrighted work.” 17 U.S.C. § 107(2). Because this factor
                “typically has not been terribly significant in the overall fair
                use balancing,” it merits only brief discussion. Dr. Seuss,
                983 F.3d at 456 (citation omitted). In assessing the
                copyrighted work’s nature, we consider “the extent to which
                it is creative and whether it is unpublished.” Monge,
                688 F.3d at 1177.

                    Although they document a real event, McGucken’s
                photos are creative because they were the product of many
                technical and artistic decisions. See VHT, Inc. v. Zillow
                Grp., Inc., 918 F.3d 723, 744 (9th Cir. 2019) (holding that
                photos of residences were creative when they were
                “aesthetically and creatively shot and edited by professional
                photographers”). While McGucken’s photos had been
                published on Instagram and in online articles, that does not
                weigh in favor of fair use. See Dr. Seuss, 983 F.3d at 456
                (explaining that, while a work’s unpublished status would
                weigh against fair use, “the converse is not necessarily
                true”). Therefore, the second factor weighs against fair use.

                D. Third Factor – Amount and Substantiality of the
                   Portion Used

                    The third factor considers “the amount and substantiality
                of the portion used in relation to the copyrighted work as a
                whole.” 17 U.S.C. § 107(3). This inquiry is concerned with
                “the quantitative amount and qualitative value of the original
                work used in relation to the justification for that use.”
                Dr. Seuss, 983 F.3d at 456 (quoting Seltzer, 725 F.3d
                at 1178). This factor weighs against fair use if the infringer
                publishes “the heart” of an “individual copyrighted picture”
                without justification. Monge, 688 F.3d at 1178.
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                    Pub Ocean argues that this factor favors fair use because
                the article used twenty-eight photos from other sources,
                making McGucken’s photos only a small part of the article
                as a whole. While “[t]he inquiry under this factor is . . .
                flexible,” Id. at 1179, this approach runs contrary to the text
                of the statute, which plainly calls for a comparison of “the
                portion used” to “the copyrighted work as a whole” and not
                the infringing work, 17 U.S.C. § 107(3) (emphasis added).
                As the Supreme Court has recognized, “a taking may not be
                excused merely because it is insubstantial with respect to the
                infringing work.” Harper & Row, 471 U.S. at 565.

                    Here, Pub Ocean’s taking of McGucken’s photos was
                “total.” Monge, 688 F.3d at 1180. Quantitatively, twelve of
                McGucken’s photos are used with only negligible cropping.
                Qualitatively, given how much was taken, it is clear that the
                article took “the heart” of each of the twelve photos. Id.
                at 1178. The extent of Pub Ocean’s taking could hardly be
                greater. 6

                    Pub Ocean’s sweeping use of McGucken’s photos
                lacked any valid justification. “This factor circles back to
                the first factor because ‘the extent of permissible copying
                varies with the purpose and character of the use.’” Dr. Seuss,
                983 F.3d at 456 (quoting Campbell, 510 U.S. at 586–87). As
                explained above, the first factor weighs against fair use
                because Pub Ocean used McGucken’s photos for exactly the
                purpose for which they were taken. Pub Ocean has failed to

                     6
                     While the proper comparison is between the amount used and the
                copyrighted work, “the fact that a substantial portion of the infringing
                work was copied verbatim is evidence of the qualitative value of the
                copied material.” Harper & Row, 471 U.S. at 565; see also KCAL-TV,
                108 F.3d at 1122 (same). That twelve of the article’s forty photos came
                from McGucken therefore demonstrates the qualitative value of the
                photos that were taken.
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                 point to a transformative purpose that would justify
                 reproducing any of McGucken’s photos—much less the
                 entirety of twelve of them.

                     Even assuming Pub Ocean was justified in using some
                 portion of the photos, copying the entirety of twelve of them
                 would be “far more than was necessary.” Monge, 688 F.3d
                 at 1179. Moreover, Pub Ocean failed to put forward any
                 evidence that other photographs or visual aids were
                 unavailable or an inadequate substitute for McGucken’s
                 photos. See KCAL-TV, 108 F.3d at 1123 (explaining that
                 infringement was not justified where “there [was] no
                 evidence that alternatives were not available (albeit from a
                 less desirable vantage point)”).

                     Because Pub Ocean copied extensively without
                 justification, the third factor weighs against fair use.

                 E. Fourth Factor – Market Effect

                     The fourth factor considers “the effect of the use upon
                 the potential market for or value of the copyrighted work.”
                 17 U.S.C. § 107(4). This factor encompasses both (1) “the
                 extent of market harm caused by the particular actions of the
                 alleged infringer,” and (2) “‘whether unrestricted and
                 widespread conduct of the sort engaged in by the defendant
                 would result in a substantially adverse impact on the
                 potential market’ for the original” and “the market for
                 derivative works.” 7 Dr. Seuss, 983 F.3d at 458 (quoting
                 Campbell, 510 U.S. at 590).

                     7
                       McGucken urges us to apply a presumption of market harm, which
                 some of our cases have applied to commercial, non-transformative uses.
                 See, e.g., Disney Enters. v. VidAngel, Inc., 869 F.3d 848, 861 (9th Cir.
                 2017). But see Dr. Seuss, 983 F.3d at 458 (“Mindful of the Court’s
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                     It is true that, as Pub Ocean emphasizes, the record
                 reflects little direct evidence of actual market harm caused
                 by Pub Ocean’s article. McGucken was able to license his
                 photos as early as one month after Pub Ocean’s article was
                 published. But Pub Ocean, “as the proponent of the
                 affirmative defense of fair use, ‘must bring forward
                 favorable evidence about relevant markets.’” Dr. Seuss,
                 983 F.3d at 459. And “to negate fair use,” McGucken “need
                 only show that if the challenged use should become
                 widespread, it would adversely affect the potential market
                 for the copyrighted work.” Monge, 688 F.3d at 1182
                 (quoting Harper & Row, 471 U.S. at 568); see, e.g., Sicre de
                 Fontbrune, 2022 WL 2711466, at *10 (weighing fourth
                 factor against fair use even though the defendant showed that
                 the price for the original work had increased because there
                 was no evidence “about the effect on the market for licensing
                 the disputed photographs”).

                     The harm to the market for licensing McGucken’s photos
                 would be immense. There is no dispute that a market exists
                 to republish McGucken’s photos. See VHT, 918 F.3d at 744
                 (licensing “a handful of photos” showed “that [a] market was
                 more than ‘hypothetical’”). If carried out in a widespread
                 and unrestricted fashion, Pub Ocean’s conduct would
                 destroy McGucken’s licensing market. Pub Ocean made the
                 same use of McGucken’s photos as the publications that
                 obtained licenses—copying them in an online article about
                 the ephemeral lake. As we have recognized, an infringing
                 use would destroy a derivative market when the infringing


                 directive to ‘eschew[] presumptions under this factor, we refrain from
                 presuming harm in the potential market’ for commercial uses and
                 ‘determine it in the first instance.’” (citation omitted)). Because
                 applying this presumption would make no difference to the outcome, we
                 decline to do so here.
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                 work is of the same type as existing works by licensed users.
                 See Dr. Seuss, 983 F.3d at 460 (Because “Seuss has already
                 vetted and authorized multiple derivatives” of the book the
                 defendant had used, “[t]his is not a case where the copyist’s
                 work fills a market that the copyright owner will likely
                 avoid.”). 8

                     Pub Ocean’s argument on harm to the potential market
                 turns on its argument that its use was transformative. These
                 issues are linked because “[w]here the allegedly infringing
                 use does not substitute for the original and serves a ‘different
                 market function,’ such factor weighs in favor of fair use.”
                 Seltzer, 725 F.3d at 1179 (quoting Campbell, 510 U.S.
                 at 591). Since the article was not transformative, we reject
                 this argument. However, it is worth elaborating on this point
                 because the potential market effect “underscores the limited
                 extent to which [Pub Ocean] transformed [McGucken’s]
                 works.” Monge, 688 F.3d at 1182.

                     Pub Ocean’s article is a ready market substitute for
                 McGucken’s photos and the articles that would license them.
                 Any consumer interested in McGucken’s photos would
                 enjoy Pub Ocean’s article. The article contains good-quality
                 reproductions of McGucken’s photos, with very little text
                 crowding the view. Cf. Kelly v. Arriba Soft Corp., 336 F.3d
                 811, 821–22 (9th Cir. 2003) (explaining that a low-

                     8
                       See also Elvis Presley, 349 F.3d at 631 (Because “The Definitive
                 Elvis contains the television appearances for which Plaintiffs normally
                 charge a licensing fee . . . , [i]f this type of use became widespread, it
                 would likely undermine the market for selling Plaintiffs’ copyrighted
                 material.”); KCAL-TV, 108 F.3d at 1122–23 (Because “KCAL’s stated
                 purpose was to use the tape as ‘news’ and it was a potential . . . licensee
                 or consumer of LANS’s product . . . , given what LANS and KCAL do,
                 KCAL’s use of LANS’s work for free, without a license, would destroy
                 LANS’s original, and primary market.”).
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                 resolution thumbnail in a search engine is not a substitute for
                 a clear, full-sized image). And for some consumers, the
                 article would be even better than a standalone collection of
                 McGucken’s photos or a shorter article with no other
                 content. Pub Ocean’s article also includes twenty-eight
                 other photos, many of which similarly depict beautiful
                 natural phenomena that a viewer who appreciates
                 McGucken’s photos may also enjoy. Pub Ocean’s “mere
                 duplication of the photos ‘serves as a market replacement for
                 [the originals], making it likely that cognizable market harm
                 to the original[s] will occur.’” Monge, 688 F.3d at 1182–83
                 (quoting Campbell, 510 U.S. at 591). That Pub Ocean’s
                 article is an effective market substitute for McGucken’s
                 photos and derivative content underscores the non-
                 transformative nature of Pub Ocean’s use.

                     Therefore, because Pub Ocean’s use, if widespread,
                 would destroy the market to license McGucken’s works, the
                 fourth factor weighs against fair use.

                 F. Balancing

                     All four statutory factors point unambiguously in the
                 same direction—that Pub Ocean is not entitled to a fair use
                 defense. See Dr. Seuss, 939 F.3d at 461. The district court
                 thus erred in granting summary judgment for Pub Ocean
                 based on a fair use defense. Because “no material, historical
                 facts are at issue and the parties dispute only the ultimate
                 conclusions to be drawn from those facts,” Seltzer, 725 F.3d
                 at 1175, the district court should have granted partial
                 summary judgment for McGucken on the fair use issue.

                                        IV. Conclusion

                    We reverse the district court’s grant of summary
                 judgment, direct the district court to enter partial summary
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                 judgment for McGucken on the fair use issue, and remand
                 for further proceedings.

                    REVERSED AND REMANDED.
